
Dy the Court:
This was a motion against the plaintiff in error, as sheriff and collector of Dyer county, for the county taxes of 1855.
*382All the questions which might arise in the case were settled in a case between the same parties for the taxes of 1854 — reported in 3 Sneed, 488 — except that which arises on the claim of the sheriff to have a credit for $498 27, being the amount of taxes due upon lands and lots reported to the Circuit Court for condemnation, as appears by the certificate of the clerk of said Court.
We think there was error in the rejection of this credit. The 20th section of the revenue act of 1835, Carr. &amp; N., 625, expressly allows it. The credit is to be given in the first instance, but if the taxes should be afterwards collected upon the judgment of condemnation, that is to be certified by the clerk, and the collector who receives them debited. There is no requirement in cases falling under this section that any order should be made by the County Court, as in the case of insolvencies reported under the 18th section of same act.
Judgment will be entered here for the true amount, after the deduction of this credit.
